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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRIC'I` OF TENNESSEE 05 JUH 20 PH 2: 53

 

 

WESTERN DIVISION
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' ‘ :_:;- T\, !: \
THYSSENKRUPP ELEVATOR ) "" “‘ l
MANUFACTURING, INC., )
)
Plaintiff, )
)
v. ) Civil Action No. 05-2317 DP
)
MICHAEL R. SUTTON dfb/a )
DMCELEVATOR.COM, )
)
Defendant. )

 

PROPOSED ORDER GRANTING DEFENDAN'I"S MOTION FOR ADDITIONAL
EXTENSION TO RESPOND TO COMPLAINT

 

Defendant moves this Court to extend again the deadline for it to file a response to the
Cornplaint. Plaintiff consents to this request for extension of this deadline

THEREFORE IT IS ORDERED AND DECREED that Defendant's Motion for
Additional Extension to Respond to Complaint shall be and is hereby granted, and that the

deadline for Defendant to file a response to the Complaint shall be extended to July 5, 2005.

 

.]UDGE mm
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DATE: ju\u_ L’ll bao.)/

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
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Honorable Bernice Donald
US DISTRICT COURT

